 Case 5:21-cv-00300-H Document 42 Filed 12/31/21              Page 1 of 56 PageID 24553



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

STATE OF TEXAS, et al.,
        Plaintiffs,

v.                                                          No. 5:21-CV-300-H

XAVIER BECERRA, Secretary of Health
and Human Services, et al.,
        Defendants.

                       MEMORANDUM OPINION AND ORDER

       In response to the President’s plan to increase COVID-19 vaccinations, the Department

of Health and Human Services created two unprecedented conditions on funding for Head

Start programs, which provide education-related services to needy children. The agency’s Rule

requires Head Start staff to be vaccinated and near-universal masking of children and adults.

       It is undisputed that an agency cannot act without Congressional authorization. Thus,

the question here is whether Congress authorized HHS to impose these requirements. HHS

claims that the mandates are authorized as “program performance standards” related to:

“administrative and financial management,” “the condition . . . of facilities,” or “such other

standards” the agency “finds to be appropriate.” Texas and the Lubbock Independent School

District argue that the Act does not authorize such mandates, that irreparable injury would

result from them, that HHS failed to comply with the Administrative Procedure Act in

adopting the conditions, and that the mandates violate various Constitutional doctrines. They

seek an injunction to bar the mandates’ enforcement. Because the Court concludes that there

is a substantial likelihood that the mandates do not fit within the Head Start Act’s authorizing

text, that HHS failed to follow the APA in promulgating the mandates, and that the mandates

are arbitrary and capricious, the Court preliminarily enjoins their enforcement in Texas.
 Case 5:21-cv-00300-H Document 42 Filed 12/31/21              Page 2 of 56 PageID 24554



1.     Factual and Procedural Background

       The Department of Health and Human Services (HHS) offers grants to schools,

nonprofits, and other local organizations to run Head Start programs. Those programs

“promote the school readiness of low-income children” by creating supportive learning

environments and by providing health, educational, nutritional, social, and other services to

young children and their families. 42 U.S.C. § 9831. Many Head Start programs are

operated through local school districts, like Lubbock Independent School District (LISD), in

the form of pre-K classes. See, e.g., Dkt. No. 8-3 at 3. Texas Tech operates an Early Head

Start program, which is offered for children under age three. Dkt. No. 8-4 at 2; see 42

U.S.C. § 9840a. In 2021, HHS awarded $842,280,184 in grants to Texas Head Start

programs. Dkt. No. 8-2 at 35. LISD and Texas Tech University received a portion of this

funding. Dkt. Nos. 8-2 at 2, 9, 10, 30; 8-3 at 3; 8-4 at 2.

       In response to the COVID-19 pandemic, the Office of Head Start (OHS) allowed

local providers to adjust their services as necessary depending community conditions and

needs. Dkt. Nos. 8-5 at 2-3; 27 at 4 (listing the OHS May 2021 guidance in the

administrative record); 86 Fed. Reg. 68,058 n.66 (citing the guidance in the interim final

rule). In its May 2021 guidance, the agency recognized that “[t]o date, OHS provided

needed flexibilities and guidance that allowed programs to adapt services based on the

changing health conditions in their communities.” Dkt. No. 8-5 at 2. As a result, some

Head Start programs offered virtual and remote services, but “[m]any programs continued

to provide in-person services for children and families throughout the COVID-19

pandemic.” Id. OHS knew, however, that “virtual and remote services . . . are not an

acceptable replacement for in-person comprehensive services.” Id. at 3. In fact, OHS




                                              –2–
    Case 5:21-cv-00300-H Document 42 Filed 12/31/21          Page 3 of 56 PageID 24555



reported that “[a]lmost one third of children served in Head Start programs before the

pandemic—approximately 250,000—have not received services to date.” Id. at 4. Thus,

OHS’s May 2021 guidance instructed its in-person programs “to continue serving children

in person, as local health conditions allow.” Id. at 2. OHS also made clear that the virtual

programs “are expected to move to in-person services, as local health conditions allow.” Id.

at 3. According to the CDC, OHS’s flexible approach to early childhood education during

the pandemic was successful: “Since the COVID-19 pandemic started, Head Start and Early

Head Start programs successfully implemented CDC-recommended mitigation strategies

and applied other innovative approaches to limit SARS-CoV-2 transmission among

children, teachers, and other staff members by allowing maximum program flexibility and

allocating financial and human resources.” 1

        In the 2020–21 school year, LISD implemented a mask mandate in line with

Governor Abbott’s Executive Order and Texas Education Agency public-health guidance.

Dkt. 39-4 at 3. Masks were required for students in fourth grade and above. Id. In the

2021–22 school year, however, LISD decided that masks would be welcome and

vaccinations encouraged, but neither would be mandatory. Id. at ¶ 5–6. Before the school

year began, 84% of LISD’s staff reported having received at least one vaccine dose. Id. at

¶ 6. Of 1,847 active cases since August 18, 2021, 26 were pre-K students and none were pre-

K staff. Id. at ¶ 5.




1
 CDC Morbidity and Mortality Weekly Report (Dec. 11, 2020), https://www.cdc.gov/mmwr/
volumes/69/wr/mm6949e3.htm [https://perma.cc/LY6K-ZS7Y] (available at Dkt. No. 29-9).




                                               –3–
    Case 5:21-cv-00300-H Document 42 Filed 12/31/21             Page 4 of 56 PageID 24556



          On September 9, 2021, the President announced “a new plan to require more

Americans to be vaccinated.” 2 He said that “our patience is wearing thin” with the

unvaccinated, and “we must increase vaccinations among the unvaccinated with new

vaccination requirements.” Id. Those requirements would apply to employers with 100 or

more employees, healthcare workers, executive branch federal employees, and “all of nearly

300,000 educators” in the Head Start program. Id. The President did not hide the fact that

his school-related mandate “takes on elected officials and states that are undermining you

and these lifesaving actions.” Id. He said that “if these governors won’t help us beat the

pandemic, I’ll use my power as President to get them out of the way.” Id.

          On November 30, 2021, the Administration for Children and Families (ACF)—a

division of HHS—issued an Interim Final Rule with Comment (Rule) imposing mask and

COVID-19 vaccine mandates in Head Start programs. See Vaccine and Mask Requirements

to Mitigate the Spread of COVID-19 in Head Start Programs, 86 Fed. Reg. 68,052 (Nov. 30,

2021) (to be codified at 45 C.F.R. pt. 1302). As its name suggests, the Rule’s purpose is “to

protect the health and safety of Head Start staff, children, and families and to mitigate the

spread of SARS–CoV–2 in Head Start programs.” Id. at 68,053.

          ACF promulgated the Rule by adding the mandates to existing “Head Start Program

Performance Standards.” Id. at 68,052. Specifically, the Rule requires “universal masking




2
    Joseph Biden, Remarks by President Biden on Fighting the COVID-19 Pandemic (Sept. 9, 2021),
    https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-by-
    president-biden-on-fighting-the-covid-19-pandemic-3/ [https://perma.cc/VW2F-3Z47].




                                               –4–
    Case 5:21-cv-00300-H Document 42 Filed 12/31/21                  Page 5 of 56 PageID 24557



for all individuals aged 2 years and older,” with limited exceptions, 3 in all indoor settings

where Head Start services are provided and in Head Start vehicles. Id. at 68,060. And “for

those not fully vaccinated,” masks are required “outdoors in crowded settings or during

activities that involve sustained close contact with other people.” Id. For purposes of the

Rule, “being outdoors with children inherently includes sustained close contact for the

purposes of caring for and supervising children.” Id.

          The Rule also requires “all Head Start staff, certain contractors, and volunteers in

classrooms or working directly with children to be fully vaccinated,” with certain

exemptions. 4 Id. For those granted an exemption from the vaccine requirement, weekly

COVID-19 testing is required. Id. at 68,061.

          The Rule took effect immediately—November 30, 2021—before public notice-and-

comment procedures were followed. Given the threat posed by rising COVID-19 cases and

the hope to return fully to in-person instruction in 2022, the Secretary found that there was

“good cause” to waive the notice-and-comment procedures normally required when an

agency promulgates a regulation. See id. at 68,059 (finding good cause to waive notice-and-

comment procedures). The mask requirement was effective immediately, while the vaccine

mandate requires compliance by January 31, 2022. Id. at 68,060–62. Under the Rule,


3
    “Exceptions are noted for when individuals are eating or drinking; for children when they are
    napping; for the narrow subset of persons who cannot wear a mask, or cannot safely wear a mask,
    because of a disability as defined by the Americans with Disabilities Act (ADA), consistent with
    CDC guidance on disability exemptions; and for children with special health care needs.” 86 Fed.
    Reg. at 68,060 (footnotes omitted).
4
    Exemptions are available “for those (i) for whom a vaccine is medically contraindicated, (ii) for
    whom medical necessity requires a delay in vaccination, or (iii) who are legally entitled to an
    accommodation with regard to the COVID–19 vaccination requirement based on an applicable
    Federal law.” Id. at 68,061 (footnotes omitted). Accommodations based on federal law may be
    granted for “a disability under the ADA, medical condition, or sincerely held religious beliefs,
    practice, or observance.” Id.


                                                  –5–
    Case 5:21-cv-00300-H Document 42 Filed 12/31/21                  Page 6 of 56 PageID 24558



individuals are deemed “fully vaccinated” two weeks after receiving the second dose in a

two-dose series (i.e. Moderna and Pfizer) or a single-dose vaccine (i.e. Johnson & Johnson).

Id. at 68,060. But, to allow flexibility, staff and volunteers who have received their final

dose of a COVID-19 vaccine by January 31, 2022 are “considered to have met the

vaccination requirement, even if they have not yet completed the 14-day waiting period.”

Id. at 68,062. Because the Moderna vaccine requires four weeks in between doses, an

unvaccinated person who intends to comply with the Rule by receiving the Moderna

vaccine must receive his or her first dose by January 3, 2022. Programs that refuse to

implement the Rule’s dual mandates risk losing their Head Start funding entirely. See 42

U.S.C. § 9836a(e)(1)(C); 45 C.F.R. § 1304.5 (2021) (“Termination and denial of

refunding”).

          Plaintiffs—the State of Texas and the LISD—filed this action on December 10, 2021

seeking to enjoin the Rule’s enforcement. Dkt. No. 1. They argue that several statutory and

constitutional defects render the Rule procedurally and substantively invalid.

          The plaintiffs filed a motion seeking a temporary restraining order and a preliminary

injunction on December 14. Dkt. Nos. 6; 8. Two days later, the defendants 5 appeared

through counsel. Dkt. No. 14. Aware of the January 3 deadline for those who would

obtain the Moderna vaccine, the Court set an expedited briefing schedule. Dkt. No. 15.




5
    Defendants are Xavier Becerra, in his official capacity as Secretary of the United States
    Department of Health and Human Services; the United States Department of Health and Human
    Services; Jooyuen Chang, in her official capacity as Principal Deputy Assistant Secretary; the
    Administration for Children and Families; Katie Hamm, in her official capacity as Deputy
    Assistant Secretary for Early Childhood Development; the Office of Early Childhood
    Development; Bernadine Futrell, in her official capacity as Director of the Office of Head Start; the
    Office of the Head Start; and Joseph R. Biden, in his official capacity as President of the United
    States.


                                                   –6–
    Case 5:21-cv-00300-H Document 42 Filed 12/31/21                   Page 7 of 56 PageID 24559



On December 23, the defendants filed a response brief. Dkt. Nos. 24; 25; 26. Four days

later, they filed the administrative record. Dkt. Nos. 27–35. The plaintiffs then filed their

reply on December 28. Dkt. No. 38.

          The Court held a hearing to allow the parties to offer evidence and argument.

Plaintiffs offered 18 exhibits into evidence, while the defendants offered none. Tr. at 10.

With two exceptions, the defendants stipulated to the admissibility of plaintiffs’ exhibits. Id.

at 6; Dkt. No. 39. Defendants objected to the use of the declarations attached to the

plaintiff’s filings (Dkt. Nos. 39-3; 39-4; 39-7; 39-8; 39-9; 39-15; 39-16; 39-17) for any reason

other than to analyze irreparable harm and the public interest. Dkt. No. 39; Tr. at 86. They

also objected in full to plaintiffs’ proposed Exhibit 14, which is a sample of public

comments. Dkt. No. 39-14. Thus, the Court admitted plaintiffs’ Exhibits 1–13 and 15–18.

Tr. at 6, 10. It took the admissibility of plaintiffs’ Exhibit 14 and the permissible use of the

declarations under advisement. 6 Id. at 10.

          During oral argument, counsel for the defendants made multiple concessions

relevant to the Court’s analysis. First, she noted that the vaccine and mask mandates are

not “health services” within the meaning of the Head Start Act. Id. at 40. Second, she

explained that the agency does not assert that the Rule was or could be authorized under 42

U.S.C. § 9836a(a)(1)(A), which are “performance standards with respect to services required

to be provided, including health . . . services.” Id. at 40–41. Third, while she continued to

argue that the Rule could be authorized as an “administrative” standard under

subsection (C), she admitted that it could not qualify as a “financial management standard.”



6
    Because the Court does not rely on Exhibit 14 in its analysis, nor consider the declarations outside
    of the harm and public-interest issues, the Court denies the objections as moot.


                                                   –7–
 Case 5:21-cv-00300-H Document 42 Filed 12/31/21                  Page 8 of 56 PageID 24560



Id. at 48. And finally, she admitted that, while other health services made available to

children by Head Start are “strongly encouraged,” this is the first time that Head Start has

ever mandated a medical procedure as a precondition to new or ongoing employment. Id.

at 46–47. The Rule is unprecedented, although counsel asserted that it is justified by an

unprecedented pandemic. Id. at 52, 55–58.

       Counsel for Texas likewise made an important clarification during argument.

Regarding Texas’s request for a nationwide injunction, he admitted that the Fifth Circuit

recently limited a nationwide injunction and that relevant precedent on the topic appeared

inconsistent. Id. at 90–91. He agreed that the great majority of evidence before the Court

was limited to the mandate’s effect on Texas and school districts in Texas. Id. at 91. He

explained that Texas’s request for nationwide relief was not based on case law, but rather

the Administrative Procedure Act, which instructs courts to set aside unlawful agency

actions. Id. at 90–91.

2.      Preliminary Injunction Standard

       Federal Rule of Civil Procedure 65(a) authorizes federal courts to issue preliminary

injunctions. The Court need not address Plaintiffs’ Motion for Temporary Restraining

Order under Rule 65(b) because defendants received notice, made an appearance, and the

issues have been fully briefed and argued by the parties.

       “A preliminary injunction is an extraordinary remedy,” requiring a “clear showing”

that plaintiffs are entitled to such relief. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22,

24 (2008). “In order to obtain a preliminary injunction, a movant must demonstrate (1) a

substantial likelihood of success on the merits; (2) a substantial threat of irreparable harm if

the injunction does not issue; (3) that the threatened injury outweighs any harm that will




                                                –8–
 Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 9 of 56 PageID 24561



result if the injunction is granted; and (4) that the grant of an injunction is in the public

interest.” Moore v. Brown, 868 F.3d 398, 402–03 (5th Cir. 2017) (citing Byrum v. Landreth,

566 F.3d 442, 445 (5th Cir. 2009)). “Likelihood of success and irreparable injury to the

movant are the most significant factors.” Louisiana v. Becerra, --- F.4th ---, 2021 WL

5913302, at *1 (5th Cir. Dec. 15, 2021) (citing Veasey v. Perry, 769 F.3d 890, 892 (5th Cir.

2014)).

3.        Analysis

          A.        Likelihood of Success on the Merits

          The Court need not reach all of plaintiffs’ arguments to resolve their motion. The

Court finds that plaintiffs’ have demonstrated a substantial likelihood of success on the

merits of four of their claims.

               i.         Statutory Authority

          First, the Court finds that plaintiffs have demonstrated a substantial likelihood of

success on their claim that the Secretary issued the Rule without statutory authority.

A federal agency cannot act absent Congressional authorization. La. Pub. Serv. Comm’n v.

FCC, 476 U.S. 355, 374 (1986). It cannot confer power upon itself. Id. “To permit an

agency to expand its power in the face of a congressional limitation on its jurisdiction would

be to grant to the agency power to override Congress.” Id. at 374–75. Therefore, under the

Administrative Procedure Act (APA), courts must “hold unlawful and set aside agency

action” that is “in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(C).

          When reviewing an agency’s construction of a statute, courts must use the ordinary

tools of statutory interpretation. First, under the Chevron two-step framework, a court must




                                                –9–
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                   Page 10 of 56 PageID 24562



consider “whether Congress has directly spoken to the precise question as issue.” Chevron,

U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 842 (1984). If Congress has directly

spoken on the precise issue, the court “must give effect to the unambiguously expressed

intent of Congress.” Id. at 842–43. But “if the statute is silent or ambiguous with respect to

the specific issue, the question for the court is whether the agency’s answer is based on a

permissible construction of the statute.” Id. at 843.

                         a.      The plain language of the statutory provisions on which the
                                 Secretary relies do not authorize mask and vaccine mandates.

          The Court begins with the text of defendants’ cited authority. HHS claims that

subsections 641A(a)(1)(C), (D), and (E) of the Head Start Act 7 authorize the Rule. 86 Fed.

Reg. at 68,053 (citing § 9836a(a)(1)(C)–(E)). The relevant language appears as follows:

          § 9836a. Standards; monitoring of Head Start agencies and programs

                 (a) Standards

                         (1) Content of standards

                                 The Secretary shall modify, as necessary, program
                                 performance standards by regulation applicable to Head
                                 Start agencies and programs under this subchapter,
                                 including—
                                 ...

                                 (C) administrative and financial management standards;

                                 (D) standards relating to the condition and location of
                                 facilities (including indoor air quality assessment
                                 standards, where appropriate)
                                 ...

                                 (E) such other standards as the Secretary finds to be
                                 appropriate.

7
    Defendants cite 42 U.S.C. § 9836a(a)(1)(C)–(E), as amended by the Improving Head Start for
    School Readiness Act of 2007, Pub. L. No. 110–34, § 8, 121 Stat. 1385–96 (2007). For simplicity,
    the Court refers to the current, amended version of this statute as the “Head Start Act.”


                                                – 10 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 11 of 56 PageID 24563




42 U.S.C. § 9836a.

          Plaintiffs argue that the Secretary’s ability to “modify” these “program performance

standards” does not authorize a vaccine mandate for all Head Start staff, contractors, and

volunteers, nor universal masking for all individuals age two and older. Dkt. No. 8 at 19

(citing § 9836a(a)(1)). The Court agrees.

          Applying Chevron’s first step, Congress has not spoken to the precise question at

issue. The statutory subsections on which defendants rely do not mention vaccination or

masking. To some degree, this is not surprising. The “program performance standards” in

the Head Start Act were last amended in 2007, when “masking” was not the common term

it is today. See supra note 7. That “vaccination” or “immunization” are missing from the

statute is more telling. State laws and regulations have long required that at least children

be vaccinated against many communicable diseases. See, e.g., 25 Tex. Admin. Code

§ 97.63(2)(A) (requiring that “[c]hildren enrolled in child-care facilities, pre-kindergarten, or

early childhood programs” be immunized against a host of diseases).

          Congress could have spoken directly to the issue of vaccination, masking, or other

precautions in the last year when passing other COVID-19-related legislation, but it did not

and has not. 8 Rather than amend the Head Start Act, Congress only granted funds “for

carrying out” the existing “Head Start Act.” See Consolidated Appropriations Act, 2021,

Pub. L. No. 116–260, 134 Stat. 1181, 1583–84 (2020). Moreover, the subsections on which

the defendants rely do not mention broader health and safety precautions that Head Start



8
    As counsel for the defendants conceded at the hearing, Congress could not have foreseen the
    COVID-19 pandemic when it enacted the Head Start Act. Tr. at 57–58. That argument does not
    help the defendants, though. Rather, it underscores the need to reach Chevron’s second step.


                                               – 11 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 12 of 56 PageID 24564



staff or children must take. Subsections 641A(a)(1)(C), (D), and (E) are silent as to the

“precise question at issue.” Chevron, 467 U.S. at 843.

       And under subsection (A) of Section 641A(a)(1)—a provision the Secretary did not

cite as authority for the Rule—Congress also did not speak to the precise question at issue,

even though that subsection allows the Secretary to modify “program performance

standards” for “services required to be provided, including health.” 42 U.S.C.

§ 9836a(a)(1)(A). Though this provision mentions the word “health,” it concerns providing

services to children—not conditioning participation or employment on mask or vaccine

requirements. Id.

       Therefore, the Court must decide, under step two of the Chevron framework, whether

“the agency’s [interpretation] is based on a permissible construction of the statute.” 467

U.S. at 843. The plain language of defendants’ cited authority, the statutory context, and

the existing regulations all confirm that the Secretary’s interpretation of “performance

standards” is not a permissible construction of the statute. The Court finds that plaintiffs are

substantially likely to succeed on their claim that defendants exceeded their statutory

authority.

       As mentioned, the Secretary invokes subsections 641A(a)(1)(C), (D), and (E) of the

Head Start Act to claim the broad authority for issuing this Rule. 86 Fed. Reg. at 68,053.

Those subsections authorize the Secretary to “modify, as necessary, program performance

standards by regulation . . . including—(C) administrative and financial management

standards; (D) standards relating to the condition and location of facilities (including indoor

air quality assessment standards, where appropriate) . . . [and] (E) such other standards as

the Secretary finds to be appropriate.” 42 U.S.C. § 9836a(a)(1)(C)–(E).



                                            – 12 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21              Page 13 of 56 PageID 24565



       At the outset, Congress appears to have limited the scope of the Secretary’s power.

The Secretary may only “modify” program performance standards. Id. This is not a broad

grant of rulemaking power like defendants suggest. Rather, by enabling the Secretary to

only “modify” program performance standards, Congress conferred modest authority. To

“modify” means to “make somewhat different; to make small changes to (something) by

way of improvement, suitability, or effectiveness . . . [t]o make more moderate or less

sweeping; to reduce in degree or extent; to limit, qualify, or moderate.” Modify, Black’s

Law Dictionary (11th ed. 2019); see also MCI Telecomm. Corp. v. Am. Tel. & Tel. Co., 512 U.S.

218, 225 (1994) (“Virtually every dictionary we are aware of says that ‘to modify’ means to

change moderately or in minor fashion”).

       With the power to “modify,” the Secretary may only make moderate changes to

Head Start performance standards. Against this backdrop, the Court finds that enacting

unprecedent mask and vaccine mandates are not moderate changes to the specific standards

defendants try to leverage. But even assuming “modify” does not cabin the Secretary’s

power, the identified sources of authority cannot fairly be construed so broadly as to include

an unprecedented, nationwide requirement of a medical procedure or universal masking.

The Court addresses each of defendants’ cited provisions in turn.

       First, the mask and vaccine mandates are not authorized by subsection (C), which

allows the Secretary to modify “administrative and financial management standards.”

§ 9836a(a)(1)(C). “Financial management standards” plainly do not encompass mask and

vaccine mandates—they relate to how money is handled. Defendants admit that the

mandates are not financial management standards. Tr. at 48.




                                            – 13 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 14 of 56 PageID 24566



       Likewise, the Secretary may not impose these mandates by purporting to modify

administrative standards. “Administrative” is not defined by the statute but generally refers

to “of or relating to administration,” and “administration” is the “performance of executive

duties: management.” Administrative, Merriam-Webster’s Collegiate Dictionary (11th ed.

2014); Administration, Merriam-Webster’s Collegiate Dictionary (11th ed. 2014). By placing

the vaccine mandate in the “Human Resources Management” section of the regulations,

defendants seem to interpret “administrative” standards to include requiring its employees

to undergo a mandatory offsite medical procedure or be fired if they are not granted an

exemption. See 86 Fed. Reg. at 68,060 (noting that the Rule adds four new provisions to

“part 1302, subpart I—Human Resources Management” in 45 C.F.R. §§ 1302.93–94). Such

a requirement would not typically be characterized as relating to executive duties or

management. If it were, there would be no limit to the scope of administrative standards.

Defendants could then impose any requirement on Head Start staff, contractors, volunteers,

and children by modifying “administrative standards.”

       Rather, the scope of “administrative standards” is informed by the term to which it is

joined: “financial management standards.” § 9836a(a)(1)(C). Congress grouped the two

together—not only in the same list, but in the same subsection. See id. Statutory terms are

often known by the “company they keep.” See Lagos v. United States, 138 S. Ct. 1684, 1688–

89 (2018) (Breyer, J., writing for a unanimous Court) (citing Yates v. United States, 574 U.S.

528, 542 (2015)) (finding “both the presence of company that suggests limitation and the

absence of company that suggests breadth”). The agency concedes that the company

“administrative” keeps—“financial management”—obviously cannot authorize the Rule.

Tr. at 48. Read together, the term “financial management standards” “suggests limitation”



                                            – 14 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 15 of 56 PageID 24567



on the scope of the term “administrative standards.” Id. The terms appear to contemplate

management standards like those found in 45 C.F.R. § 1302.101(a)(1)—requiring programs

to use effective “fiscal[] and human resource management structure[s]”—not mandatory

masking and vaccine requirements. Given that the masking and vaccine mandates aim to

protect children’s health, it defies logic to assert that such standards would be characterized

as administrative or financial.

       Second, the plain language of subsection (D) suggests that the Secretary may not

impose the mask and vaccine mandates. Subsection (D) enables the Secretary to modify

“standards relating to the condition and location of facilities (including indoor air quality

assessment standards, where appropriate).” § 9836a(a)(1)(D). “Facility” is defined as “a

structure, such as a building or modular unit, appropriate for use in carrying out a Head

Start program and used primarily to provide Head Start services.” 45 C.F.R. § 1305.2

(2021). Subsection (D) specifies that the condition and location of facilities must “meet or

exceed State and local requirements concerning licensing for such facilities” and “be

accessible by State and local authorities for purposes of monitoring and ensuring

compliance.” § 9836a(a)(1)(D)(i) & (ii). The “condition” of facilities—as the references to

“indoor air quality assessment standards,” licensing, and accessibility make clear—relate to

physical conditions of buildings and equipment—not conditions on children’s participation

and adults’ employment or volunteer eligibility. Mandating facility standards is a far cry

from mandating a medical procedure for all staff under the threat of termination and what

participants must wear. See Texas v. Becerra, 2021 WL 5964687, at *5 (N.D. Tex. Dec. 15,

2021) (Kacsmaryk, J.) (“Mandating facility standards is drastically different from mandating

who a healthcare provider hires or fires.”).




                                               – 15 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                     Page 16 of 56 PageID 24568



          The Rule contains a lone sentence aimed at explaining how the mask and vaccine

mandates are “standards relating to the condition . . . of facilities.” § 9836a(a)(1)(D). “The

Secretary finds it necessary and appropriate to set health and safety standards for the

condition of Head Start facilities that ensure the reduction in transmission of the SARS–

CoV–2 and to avoid severe illness, hospitalization, and death among program participants.”

86 Fed. Reg. at 68,054. But the new Rule governs the conditions of people—not buildings.

See Tr. at 49 (defendants acknowledging that “facilities” refer to buildings).

          The last subsection—“such other standards as the Secretary finds to be

appropriate”—cannot support the mask and vaccine mandates. § 9836a(a)(1)(E). Though

seemingly expansive, “such other” standards fall under the banner of “performance

standards” and must be defined in relation to subsections (A)–(D). 9 § 9836a(a)(1) (stating

that “[t]he Secretary shall modify, as necessary program performance standards”).

Generally, “performance standards” are criteria that measure the quality of Head Start

programs. See Standard, Black’s Law Dictionary (11th ed. 2019) (“A criterion for measuring

acceptability, quality, or accuracy”). Here, “quality” corresponds to Head Start programs’

ability to achieve their purpose. Under the Act, that purpose is to “promote the school

readiness of low-income children by enhancing their cognitive, social, and emotional

development” through providing a host of services—including health services to the

children and their families. 42 U.S.C. § 9831(2).



9
    Plaintiffs also argue that such a broad reading of “other standards” the Secretary deems
    “appropriate” would violate the nondelegation doctrine. Dkt. No. 8 at 25. “The nondelegation
    doctrine bars Congress from transferring its legislative power to another branch of Government.”
    Gundy v. United States, 139 S. Ct. 2116, 2121 (2019). But statutory delegations are permissible if
    “Congress has supplied an intelligible principle to guide the delegee’s use of discretion.” Id. at
    2123. Because the Court finds defendants’ broad reading impermissible, the Court need not
    address nondelegation issues arising from the catch-all provision.


                                                  – 16 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 17 of 56 PageID 24569



       The vaccine mandate does not measure staff and volunteers’ ability to enhance

children’s development; it determines whether they will be kept on, hired, or fired in the first

place. Likewise, requiring all children ages two to five to wear masks is not a benchmark

that measures the quality of services provided, health-related or not. Rather, it defines

whether children may receive Head Start services at all. These mandates are prerequisites to

performance, not performance standards themselves. Both set conditions for participation

and employment. They do not measure quality. Defendants’ construction of their cited

authorities is impermissible for this fundamental reason.

       Furthermore, if “such other performance standards” could include mask and vaccine

mandates, there would be no genuine limiting principle to the Secretary’s authority to

regulate in the name of “health and safety standards.” As recently as August 2021, the

Supreme Court invalidated a federal agency’s attempt to pass COVID-19 restrictions, and it

did so, in part, due to the lack of any limit to the asserted authority. Alabama Ass’n of

Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021). There, the Supreme

Court held that it was “virtually certain” that the CDC did not have authority to issue an

eviction moratorium based on the Surgeon General’s statutory authority to make and

enforce regulations to prevent the spread of communicable diseases. Id. at 2486. The

statute at issue had a catch-all provision, similar to the one in this case—“other measures, as

in his judgment may be necessary.” Id. at 2487 (quoting 42 U.S.C. § 264). But the Court

explained that “the sheer scope of the CDC’s claimed authority . . . would counsel against”

the CDC’s interpretation, because it was “hard to see what measures [it] would place

outside the CDC’s reach.” Id. at 2489.




                                             – 17 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                     Page 18 of 56 PageID 24570



        Although, this case, of course, deals with different statutory language, the agency’s

similar claim to expansive authority based on generalized and catch-all language

undermines its position. Here, defendants argue that the Secretary can leverage “such other

standards as the Secretary finds to be appropriate” to pass any health and safety regulation

that furthers the general purpose of the statute—keeping Head Start programs open to

promote the school readiness of children. Tr. at 51–52. This reading appears to allow the

Secretary to pass any health-related mandate that would reduce staff and volunteer

absenteeism. Even if the plain language of “program performance standards” authorized

the Rule—which it does not—adopting the remote and manipulable reading urged by the

Secretary counsels against the defendants’ interpretation. See Alabama Ass’n of Realtors, 141

S. Ct. at 2489.

                        b.      Other statutory provisions and existing regulations confirm
                                that the mask and vaccine mandates are unprecedented and
                                unauthorized.

        Citing other provisions in the “standards” section, defendants urge a broader

construction of “performance standards.” See Dkt. No. 26 at 26–27. Congress authorized

the Secretary to issue “deficiencies” when programs fail to follow “performance standards.”

§ 9836a(e)(1)(A). The act defines a “deficiency” as “a systematic or substantial material

failure of an agency in an area of performance that the Secretary determines involves—(i) a

threat to the health, safety, or civil rights of children or staff; . . . [or] (iii) a failure to comply

with standards related to early childhood development and health services . . . .” 42 U.S.C.

§ 9832(2)(A). So, defendants argue, the Secretary can establish “standards related to early

childhood development and health services” and “the health . . . of children or staff”

because he can issue deficiencies for failures to follow such standards. Dkt. No. 26 at 26–27




                                                 – 18 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21              Page 19 of 56 PageID 24571



(quoting § 9832(2)(A) and citing § 9836a(e)(1)). The argument falls short for multiple

reasons.

       First, there was never any doubt that the Secretary could establish certain

performance standards related to “health services.” Subsection (A) of program performance

standards specifically allows the Secretary to modify “performance standards with respect to

services required to be provided, including health.” § 9836(a)(1)(A). But the Secretary did

not rely on this subsection as his statutory authority for the mask and vaccine mandates.

Subsection (A) does not appear in the Rule even once. He instead cites subsections

(C) (“administrative and financial”), (D) (“facilities”), and (E) (“other”) of “program

performance standards.” 86 Fed. Reg. at 68,052–53 (citing § 9836(a)(1)(C)–(E)). And

defendants concede that mask and vaccine mandates are not health services. Tr. at 40.

       Indeed, they are not. Head Start is not providing “health services” to children, nor

establishing related “performance standards,” by requiring universal masking and staff

vaccination. Current performance standards related to health services include examinations

and screenings for children. See 45 C.F.R. § 1302.42 (2021). These standards even include

assisting children in getting up to date on immunizations. § 1302.42(b)(1).

       But these existing regulations differ from the mask and vaccine requirements in three

critical ways. One, they do not operate as conditions to participation. The provision of

health services, like screenings and immunization assistance, for children already

participating in Head Start programs promotes school readiness, but they are not required.

Mandatory vaccines and universal masking, in contrast, present barriers to entry unlike any

other “performance standard.” Two, since the first of these regulations were promulgated,

the health services offered have always required parental consent. See Program Performance




                                            – 19 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 20 of 56 PageID 24572



Standards for Operation of Head Start Programs by Grantees and Delegate Agencies, 40

Fed. Reg. 27,562, 27,565 (June 30, 1975) (codified in 45 C.F.R. § 1304.3-3(a)) (requiring

“advance parent or guardian authorization” for all screenings and examinations); 45 C.F.R.

§ 1302.41 (2021) (requiring Head Start programs to “collaborate with parents as partners in

the health and well-being of their children” and “[a]t a minimum” to “[o]btain advance

authorization from the parent or other person with legal authority for all health and

developmental procedures administered through the program”); 45 C.F.R. § 1302.42(b)(ii)

(2021) (authorizing Head Start staff to assist parents with scheduling immunizations but

saying nothing about enforced masking or vaccinations). And the defendants concede that

the Rule at issue is the first time in Head Start’s history that a health procedure was

mandated as a prerequisite to participation or employment. Tr. at 47. Three, the

regulations on which defendants rely only require that immunizations be made available to

children; they say nothing regarding staff or volunteers. 45 C.F.R. § 1302.41 (2021) (“Child

health status and care”). Here, by contrast, the vaccine and mask mandates condition

employment on compliance, and this is the first-ever medical procedure required of Head

Start staff under the threat of termination. Tr. at 47. These distinctions again highlight why

the mandates are not “performance standards” in the first place.

       Second, that the “deficiencies” for which the Secretary can impose sanctions

contemplate threats to “health and safety” does not widen the scope of what “performance

standards” comprises. Based on the listed “performance standards” in section 9836a(a)(1),

the Secretary has limited power to provide for the health and safety of Head Start programs.

That was never in doubt. But again, it does not authorize the mask and vaccine mandates.

For instance, Congress expressly granted the Secretary power to regulate the conditions of




                                             – 20 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 21 of 56 PageID 24573



“facilities.” § 9836a(a)(1)(D). And here, the Secretary’s own explanation of his statutory

authority focused on “facilities.” 86 Fed. Reg. at 68,054. Facility conditions, such as poor

“ventilation” systems, directly impact the health and safety of children and staff. Id. at

68,054, 68,066. Thus, it is no surprise that the Secretary could issue deficiencies based on

“threat[s] [to] the health or safety” of staff and children resulting from facility conditions.

§§ 9836a(a)(1)(D) & (e)(1)(B)(i). But, as explained above, the Act says nothing about

conditioning participation and employment eligibility on health and safety requirements as

vast as the mask and vaccine mandates here.

       Furthermore, that Congress mentions standards related to “health” services in

subsection (A), cuts against defendants’ claim that the catch-all provision in subsection (E)

includes any health-related standards. Reading “other standards” as broadly as defendants

suggest would render subsection (A) surplusage as it pertains to “health” related standards.

The catch-all provision cannot be read so broadly as to eclipse the meaning of subsections

(A)–(D). The Court “must give effect to every word that Congress used in the statute.”

Lowe v. SEC, 472 U.S. 181, 207 n.53 (1985).

                      c.      Vaccination requirements for Head Start staff and volunteers
                              are state government—not federal agency—matters.

       Having already addressed the existing regulations governing children, the Court

turns to the existing regulations governing Head Start staff and volunteers. To the extent

the regulations shed light on the scope of Secretary’s authority under the statute, they do not

authorize this Rule’s mandates. Rather, they imply that periodically screening or testing

workers may be permissible when done in “accordance with state, tribal, and local

requirements.” See 45 C.F.R. §§ 1302.93–94 (2021) (requiring staff and volunteers to test for




                                              – 21 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                       Page 22 of 56 PageID 24574



communicable diseases “in accordance with state, tribal, and local” laws and

requirements). 10 These provisions suggest two ideas, neither of which help defendants.

           First, testing employees for communicable diseases may, in some circumstances, be

permissible. But this is not a periodic testing rule. This is a vaccine mandate. Nothing in

the regulations contemplate that the federal government can require staff and volunteers to

be periodically immunized.

           Second, testing only occurs when conducted consistent with “state, tribal, and local”

laws and requirements. Id. This confirms what the Supreme Court has recognized for over

a century. Public health and safety regulation belongs, in the first instance, to the States.

Jacobson v. Massachusetts, 197 U.S. 11, 25, 38 (1905) (recognizing that the “safety and the

health of the people of” states are for States to “guard and protect” through their general

“police power[s]”). Moreover, defendants’ argument that states can require employee

vaccination does not support their argument that a federal agency can. Dkt. No. 26 at 36–

37 (“Students and educators have long been subject to . . . state vaccination requirements.”)

(emphasis added). Rather, it supports finding that the Secretary cannot compel vaccination

here.

           In this respect, defendants cause their own undoing. They repeatedly affirm the

notion that “vaccine requirements have existed for centuries as a commonplace feature of




10
      Defendants also rely on regulations that require staff to clean play areas and wash their hands after
     restroom use or changing diapers. Dkt. No. 26 at 35 (citing 45 C.F.R. § 1302.47(b)(6)(i) (2021)
     (hand hygiene); 45 C.F.R. § 1302.47(b)(2)(i) (cleaning and disinfecting play areas and equipment)).
     Such basic hygiene practices do not come close to showing that the Head Start Act authorizes
     universal masking requirements for 2-year-old children or mandatory vaccination for staff, which
     results in termination if they choose not to comply. And the staff-training provisions defendants
     cite also refer to state and local requirements, indicating that federal rules do not solely govern.
     Dkt. No. 26 at 35 (citing 45 C.F.R. § 1302.47(b)(4)).


                                                   – 22 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 23 of 56 PageID 24575



American life, particularly in the education context.” Dkt. No. 26 at 35 (citing Klaassen v.

Trs. of Ind. Univ., 7 F.4th 592, 593 (7th Cir. 2021) (upholding a state university’s vaccination

requirement)). Correct. And for “centuries,” states—not federal agencies—have compelled

vaccine requirements in the education context. See, e.g., 25 Tex. Admin. Code § 97.63(2)(A)

(requiring that “[c]hildren enrolled in child-care facilities, pre-kindergarten, or early

childhood programs” be immunized against a host of diseases); Ark. Code Ann. § 6-18-702

(West) (outlining immunization requirements for school children).

       The vaccine mandate at issue here comes from a federal agency, not a state. But

Congress must use “exceedingly clear language if it wishes to significantly alter the balance

between federal and state power.” U.S. Forest Serv. v. Cowpasture River Pres. Ass’n, 140 S. Ct.

1837, 1850 (2020) (citing Gregory v. Ashcroft, 501 U.S. 452, 460 (1991)). Congress’s failure to

use “exceedingly clear language” in any part of the statute further supports what the plain

language of “performance standards” indicates: defendants do not have authority to issue

the mask and vaccine mandates at issue here.

       This conclusion is especially true if the “major questions doctrine” applied. The

Supreme Court recently reaffirmed that it “expect[s] Congress to speak clearly when

authorizing an agency to exercise powers of ‘vast economic and political significance.’”

Alabama Association, 141 S. Ct. at 2489 (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302,

324 (2014)).

       Several factors favor applying this additional level of scrutiny. The Office of

Management and Budget declared that the Rule is a “major rule” because it will “have an

annual effect on the economy of $100 million or more.” 86 Fed. Reg. at 68,063. In fact,

ACF awards approximately “$10 billion in grants to Head Start programs.” Id. at 68,100.



                                              – 23 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                     Page 24 of 56 PageID 24576



And the Rule will regulate 273,000 staff, a share of the one million volunteers who interact

with children in-person, and a share of the 864,000 children participating in-person. Id. at

68,068–69. Plaintiffs rightly argue that these factors highlight the great economic

significance of the Rule. See Dkt. No. 8 at 28. In addition, they argue that the federal

government’s power to require citizens to get vaccinated or wear masks is a question of

great political significance. See id. at 28, 36.

           But the Sixth and Eleventh Circuits recently held that the doctrine did not apply to

rules with much larger economic effects and arguably equivalent political significance

because the rules at issue were not “an enormous and transformative expansion in [the

agencies’] regulatory authority.” See In re MCP No. 165, --- F.4th ---, 2021 WL 5989357, at

*7 (6th Cir. Dec. 17, 2021) (order dissolving the Fifth Circuit’s stay of the OSHA ETS

mandate) (quoting Utility Air, 573 U.S. at 324); Florida v. Dep’t of Health & Hum. Servs., 19

F.4th 1271, 1287 (11th Cir. 2021) (order denying injunction pending appeal of the CMS

mandate) (quoting Utility Air, 573 U.S. at 324). Delineating an “enormous and

transformative” unlawful expansion of regulatory authority from a regular-sized unlawful

expansion of regulatory authority is difficult. But the Court in this case need not resolve

that question nor the more general issue of the major-questions doctrine. Under traditional

principles of statutory interpretation, and even without the major-questions doctrine’s more

exacting standard, the defendants’ construction is impermissible. 11




11
     If the doctrine applied, plaintiffs would prevail even more easily because Congress has not spoken
     clearly in authorizing HHS to impose the expansive and unprecedented mandates on Head Start
     programs.


                                                   – 24 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 25 of 56 PageID 24577



            ii.        Proper Rulemaking Procedures

                       a.    There is a substantial likelihood that the Secretary did not
                             follow the procedures required to modify performance
                             standards under the Head Start Act.

       Even if the Head Start Act allowed the Secretary to impose mask and vaccine

mandates under the guise of modifying “performance standards”—which it does not—the

Rule cannot stand for another fundamental reason. Under the APA, the Court shall “hold

unlawful and set aside agency action” that is “not in accordance with law” or “in excess of

statutory . . . limitations.” 5 U.S.C. § 706(1)(A), (C). Here, the statute requires the

Secretary to comply with several requirements prior to modifying “any” performance

standards. 42 U.S.C. § 9836a(a)(2)(A).

       Under the statute, the Secretary must:

       [C]onsult with experts in the fields of child development, early childhood
       education, child health care, family services (including linguistically and
       culturally appropriate services to non-English speaking children and their
       families), administration, and financial management, and with persons with
       experience in the operation of Head Start programs.

Id. “Here, the Secretary consulted with experts in child health, including pediatricians, a

pediatric infectious disease specialist, and the recommendations of the CDC and FDA.” 86

Fed. Reg. at 68,054.

       The Secretary failed, however, to consult with many of the required stakeholders.

Notable absentees from his list include experts in the fields of (1) “early childhood

education,” (2) “family services (including linguistically and culturally appropriate services

to non-English speaking children and their families),” and (3) “administration[] and

financial management.” § 9836a(a)(2)(A). The failure to consult with “persons with

experience in the operation of Head Start programs” is even more striking. Id.




                                             – 25 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 26 of 56 PageID 24578



       And defendants do not argue that the Secretary actually consulted with these

necessary stakeholders. They only repeat the general assertion that the Secretary “included

relevant considerations” under Section 9836a(a)(2) when issuing the Rule. Dkt. No. 26 at 57

(quoting 86 Fed. Reg. at 68,053–54) (emphasis added). But the Secretary went out of his

way to list in the Rule the experts with whom he consulted and, in doing so, he omitted

several required by the statute. The inclusion of those listed implies the exclusion of those

not. Cf. Barnhart v. Peabody Coal Co., 537 U.S. 149, 168 (2003) (finding that the expression of

one thing implies the exclusion of others “when the items expressed are members of an

‘associated group or series’”) (quoting United States v. Vonn, 535 U.S. 55, 65 (2002)).

       These requirements exist for the Secretary’s and the public’s benefit. They are not

optional. They are mandatory under the statute. Therefore, the plaintiffs have shown a

substantial likelihood that the Secretary did not follow the procedures required to modify

performance standards.

                      b.     There is a substantial likelihood that the Secretary did not
                             have good cause to issue the Rule without notice and
                             comment.

       There is a substantial likelihood that the Rule must be set aside for another reason:

HHS did not have “good cause” to skip the notice-and-comment procedures required by the

APA when it promulgated the Rule. Courts must set aside agency action undertaken

“without observance of procedure required by law.” 5 U.S.C. § 706(2)(D). Under the APA,

an agency typically must first publish notice of a proposed rule and give the public

opportunity to comment before adopting a final rule. 5 U.S.C. § 553(b), (c). The agency

also must publish such rules at least thirty days before its effective date. § 553(d). These

procedures are “designed to assure due deliberation.” Smiley v. Citibank (S.D.), N.A., 517




                                             – 26 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 27 of 56 PageID 24579



U.S. 735, 741 (1996) (citing 5 U.S.C. § 553 and Thompson v. Clark, 741 F.2d 401, 409 (D.C.

Cir. 1984)). But, on rare occasions, “both of these requirements may be bypassed if ‘good

cause’ exists.” United States v. Johnson, 632 F.3d 912, 927 (5th Cir. 2011) (quoting 5 U.S.C.

§ 553(b)(3)(B)).

       Notice-and-comment procedures do not apply “when the agency for good cause”

finds those procedures are “impracticable, unnecessary, or contrary to the public interest.”

5 U.S.C. § 553(b)(3)(B). Typically, the government’s “burden to show that good cause

exists is a heavy one.” United States v. Cain, 583 F.3d 408, 420 (6th Cir. 2009). Indeed, the

exception is to be “narrowly construed and only reluctantly countenanced.” N.J., Dep’t of

Env’t Prot. v. EPA, 626 F.2d 1038, 1045 (D.C. Cir. 1980). Nor can it provide agencies with

an “‘escape clause’ from the requirements Congress prescribed.” Johnson, 632 F.3d at 928

(quoting United States v. Garner, 767 F.2d 104, 120 (5th Cir. 1985)). “Its use ‘should be

limited to emergency situations.’” Util. Solid Waste Activities Grp. v. EPA, 236 F.3d 749, 754

(D.C. Cir. 2001) (quoting Am. Fed’n of Gov’t Emps. v. Block, 655 F.2d 1153, 1156 (D.C. Cir.

1981)). To determine whether “good cause” exists, the Court must “rely only on the ‘basis

articulated by the agency itself’ at the time of the rulemaking.” Johnson, 632 F.3d at 928

(quoting Garner, 767 F.2d at 116–17).

       Defendants first argue that the Court should not “narrowly construe” the good cause

exception because HHS voluntarily adopted notice-and-comment procedures; Congress did

not require it. Dkt. No. 26 at 54. The APA specifically exempts matters relating to

“grants,” and Head Start is a federal grant program. 5 U.S.C. § 553(a)(2); see, e.g., 42 U.S.C.

§ 9835 (allotment of funds). But, in 1971, HHS adopted a policy statement requiring it to

follow notice-and-comment procedures. Public Participation in Rule Making, 36 Fed. Reg.



                                            – 27 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                       Page 28 of 56 PageID 24580



2,532 (Jan. 28, 1971). While defendants do not contest the binding nature of the policy

statement, they argue that the Congressional policy to construe the good cause exception

narrowly does not apply because Congress itself exempted HHS from APA procedures in

the grant program context. Dkt. No. 26 at 54 (quoting Alcaraz v. Block, 746 F.2d 593, 612

(9th Cir. 1984) (noting that agencies “should have more latitude in determining when to

invoke ‘good cause’ when notice and comment requirements are self-imposed” so the

exception should not be construed “extremely narrowly”)).

           Construed “extremely narrowly” or not, plaintiffs have established a substantial

likelihood that the Secretary did not have “good cause” to waive the APA procedures. 12

Defendants argue that “good cause” existed to skip notice and comment, thereby delaying

the effective date of the Rule, because it would be “impracticable and contrary to the public

interest.” 86 Fed. Reg. at 68,059. The Secretary cites several concerning factors, including

“failure to achieve sufficiently high levels of vaccination based on voluntary efforts and

patchwork requirements, potential harm to children from unvaccinated staff, continuing

strain on the health care system, and known efficacy and safety of available vaccines.” Id.



12
      Fifth Circuit “courts generally read exceptions from notice and comment narrowly.” Baylor Univ.
     Med. Ctr. v. Heckler, 758 F.2d 1052, 1058 (5th Cir. 1985) (citations omitted). Heckler involved an
     HHS rule for Medicare allowances to certain providers. Id. at 1054–56. The rule was promulgated
     before the HHS’s 1971 waiver of 5 U.S.C. § 553(a)(2) exemptions but before Congress prescribed
     Medicare-specific notice-and-comment procedures. Id. at 1059 n.11; 42 U.S.C. § 1395hh(b)(1)
     (requiring 60 days’ notice and comment). Therefore, the Heckler court ultimately concluded that
     the 553(a)(2) “benefits” exemption applied. Id. at 1061. However, the Fifth Circuit stated a
     general principle that all exceptions from notice and comment, including 553(b)(3)(B)’s “good
     cause” exception, will be construed “narrowly” even when faced with HHS’s voluntary 1971
     waiver of 5 U.S.C. § 553(a)(2) exemptions. Id. at 1058. Given this, it is unclear whether the Fifth
     Circuit will choose to follow the position of the Ninth Circuit in Alcaraz by extending more latitude
     in construing “good cause” where the agency voluntarily waived 553(a)(2) exemptions. 746 F.2d
     593. Also, at the time the agency issued the Rule, it did not claim to be exempt from notice and
     comment under 5 U.S.C. § 553(a)(2). Rather, it expressly attempted to justify why it had “good
     cause” under the APA. 86 Fed. Reg. at 68,058–59.


                                                   – 28 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 29 of 56 PageID 24581



Specifically, delaying the vaccine mandate “would endanger the health and safety of staff,

children, and families” as programs prepared to return to fully in-person services. Id. The

Court does not question the authenticity of these concerns. But the only issue for the Court

is whether HHS can show that notice and comment was “impracticable, unnecessary, or

contrary to the public interest.” 5 U.S.C. § 553(b)(3)(B).

       As a threshold observation, the Secretary’s specific explanation is limited to the

vaccine mandate, which requires compliance by January 31, 2022—62 days after the

Secretary published the Rule. The mask mandate—which required instantaneous

compliance on November 30, 2021—is not mentioned. In the “Waiver of Proposed

Rulemaking” section, the Secretary never explains why following notice-and-comment

procedures for the mask mandate was impracticable or contrary to the public interest. See

86 Fed. Reg. 68,058–59 (Section III.C “Waiver of Proposed Rulemaking”). Because the

Court must “rely only on the ‘basis articulated by the agency itself’ at the time of

rulemaking,” this omission favors finding that the Secretary likely did not have good cause

to exclude public participation prior to issuing the Rule. Johnson, 632 F.3d at 928 (quoting

Garner, 767 F.2d at 116–17).

       Second, the Secretary gave staff and volunteers 62 days to get vaccinated after the

Rule’s effective date—more than enough time to receive the vaccine. This amount of time

seems reasonable. Some might say practicable. So too, then, would notice and comment

have been. Notice and comment would not have forced HHS to push back the vaccination-

compliance date. Even if public participation did not affect the substance of the final rule,

HHS could have received comment and not sacrificed even one day in addressing the real

concerns it outlines.



                                             – 29 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 30 of 56 PageID 24582



       Plaintiffs argue that notice and comment were not impracticable and contrary to the

public interest because defendants “waited 82 days from the announcement of the rule on

September 9, 2021, until publishing the rule on November 30, 2021.” Dkt. No. 8 at 45.

Therefore, defendants “waited longer to publish the rule without comment than if it had

simply noticed the rule and allowed comment.” Id. Defendants respond that during this

period, “the Secretary completed a fifty-page rule, with an analysis of over 144 cited

sources” thereby demonstrating “appropriate dispatch in the face of crisis.” Dkt. No. 26 at

56.

       The Court recognizes that “reasoned policy determination[s]” take time and do not

necessarily “undermine the state of emergency.” See In re MCP, 2021 WL 5989357, at *8–9

(citing 29 U.S.C. § 655(c)) (assessing “emergency” not under the APA’s “good cause”

standard, but under the Occupational Safety and Health Act’s “emergency temporary

standard”); see also Florida, 19 F.4th 1271 (holding that the district court did not abuse its

discretion in finding that the Secretary of HHS set forth a sufficient basis of good cause for

waiving notice and comment). But the Head Start Rule, substantially shorter and less

complex, was issued 25 days after the OSHA vaccine-or-test rule and the CMS vaccine

mandate were issued. See COVID–19 Vaccination and Testing; Emergency Temporary

Standard, 86 Fed. Reg. 61,402 (Nov. 5, 2021) (154-page OSHA ETS mandate); Medicare

and Medicaid Programs; Omnibus COVID–19 Health Care Staff Vaccination, 86 Fed. Reg.

61,555 (Nov. 5, 2021) (73-page CMS rule with an analysis of over 200 cited sources). The

Court does not expect agencies to issue “emergency” rules in mere days, or even a few

weeks, after the President announces his intent to impose new rules. But this 82-day

timeline, when paired with the 62-day vaccination-compliance period, disfavors finding this



                                              – 30 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                       Page 31 of 56 PageID 24583



degree of federal involvement in pre-K programs to be an emergency that rendered notice

and comment “impracticable.”

           And defendants’ data arguably casts further doubt on the emergency nature of their

concerns in this specific context. The Secretary found that “uptake of vaccination among

Head Start staff has not been as robust as hoped for.” 86 Fed. Reg. at 68,054. In

defendants’ cited survey, however, vaccination rates among childcare providers

“significantly exceeded [rates among] the general population.” Id. at 68,078. Defendants

estimate that Head Start staff are 12% more likely to be vaccinated. Id. at 68,069. 13

           In light of the vaccine-compliance period, defendants’ lengthy delay, and the

relatively high vaccination rates of their instructors, the Court finds that notice and

comment was not impracticable. See Mid-Tex Elec. Coop., Inc. v. FERC, 822 F.2d 1123, 1132

(D.C. Cir. 1987) (recognizing that “the ‘good cause’ inquiry is inevitably fact- or context-

dependent”).

           Rather than working against the public interest, notice and comment would have

served the public interest, by ensuring “due deliberation” with the important stakeholders.

Smiley, 517 U.S. at 741 (citing 5 U.S.C. § 553 and Thompson, 741 F.2d at 409). “The public

interest prong of the good cause exception is met only in the rare circumstance when


13
      Plaintiffs’ declarations suggest the same, but defendants object to the Court’s consideration of
     them outside of the irreparable-harm and public interest analyses. Dkt. No. 39; Tr. at 6. Because
     the Court can resolve the notice-and-comment question without the declarations, it will not factor
     that evidence into its analysis, findings, and conclusion. In the interest of completeness, however,
     the Court will summarize the evidence here. According to the superintendent, LISD serves 540
     pre-K students receiving Head Start grants, and it employs over 150 Head Start staff. Dkt. No. 39-
     4 ¶ 2 (Affidavit of LISD Superintendent, Dr. Kathy Rollo). In an anonymous survey conducted
     before the school year in August, 84% of LISD staff reported receiving at least one vaccine dose.
     Id. ¶ 6. Four months later, vaccination rates could be even higher. This school year, there have
     been zero COVID-19 cases among pre-K staff, even though most do not wear masks. Id. ¶¶ 5, 9.




                                                   – 31 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 32 of 56 PageID 24584



ordinary procedures—generally presumed to serve the public interest—would in fact harm

that interest.” Mack Trucks, Inc. v. EPA, 682 F.3d 87, 95 (D.C. Cir. 2012). Notice and

comment would have involved important stakeholders, many of whom were excluded from

the rulemaking process in violation of the Head Start Act itself. 42 U.S.C. § 9836a(a)(2)(A);

see supra Part 3.A.ii.a (outlining the Secretary’s failure to consult with experts in the fields of

early childhood education, family services, administration and financial management, and

persons with experience operating Head Start programs). The Secretary’s decision silenced

Head Start teachers, volunteers, and parents—the people who likely understand well the

educational, linguistic, and social-development costs and benefits of masking toddlers and

teachers in classrooms.

       Furthermore, public feedback seems particularly important here given the diversity of

local health conditions across the country and the wide reach of the mandate. 86 Fed. Reg.

68,058; see American Federation, 655 F.2d at 1156 (“The more expansive the regulatory

reach . . . the greater the necessity for public comment.”). Rather than guessing that it

would be burdensome for large agencies to administer different policies for areas with

disparate COVID-19 transmission rates, HHS could have solicited their input through

notice and comment.

       To be sure, HHS is accepting comments until December 30, 2021. 86 Fed. Reg.

68,052. But “accepting post-promulgation comments,” after the Rule’s effective date, does

not “excuse compliance with APA procedures.” Johnson, 632 F.3d at 929. This too is not

an escape hatch. “Permitting the submission of views after the effective date is no substitute

for the right of interested persons to make their views known to the agency in time to

influence the rule making process in a meaningful way.” U.S. Steel Corp. v. EPA, 595 F.2d



                                              – 32 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 33 of 56 PageID 24585



207, 214 (5th Cir. 1979) (quoting City of New York v. Diamond, 379 F. Supp. 503, 517

(S.D.N.Y. 1974)). To allow otherwise, would make the provisions of Section 553 “virtually

unenforceable.” Id. at 215.

       “The essential purpose of according § 553 notice and comment opportunities is to

reintroduce public participation and fairness to affected parties after governmental authority

has been delegated to unrepresentative agencies.” Batterton v. Marshall, 648 F.2d 694, 703

(D.C. Cir. 1980). Here, the Secretary deprived the public and important stakeholders of this

opportunity. Whether the Court construes the good cause exception “extremely narrowly”

or not, HHS likely did not have good cause to forgo the notice-and-comment period.

           iii.       Arbitrary and Capricious

       The Court finds that there is a substantial likelihood that the Rule is arbitrary and

capricious because it is unreasonably overbroad without a reasonable explanation. It

imposes a one-size-fits-all approach with no end date, failing to establish a “rational

connection between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quoting Burlington Truck Lines v.

United States, 371 U.S. 156, 168 (1962)). The lack of a reasoned explanation is especially

concerning given that the Rule constitutes a drastic change from Head Start’s tradition of

local flexibility, CDC-reported success in navigating the pandemic through flexibility, and

the local programs’ reliance interest on that flexibility. See Dkt. No. 39-19 at 1–2.

       A court must “hold unlawful and set aside agency action, findings and conclusions

found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” 5 U.S.C. § 706(2)(A). The Supreme Court recently rearticulated what this

standard requires:




                                             – 33 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 34 of 56 PageID 24586



          The APA’s arbitrary-and-capricious standard requires that agency action be
          reasonable and reasonably explained. Judicial review under that standard is
          deferential, and a court may not substitute its own policy judgment for that of
          the agency. A court simply ensures that the agency has acted within a zone of
          reasonableness and, in particular, has reasonably considered the relevant issues
          and reasonably explained the decision.

FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021) (citing FCC v. Fox Television

Stations, Inc., 556 U.S. 502, 513–14 (2009) and State Farm, 463 U.S. at 43). In applying this

standard, the Court is limited to “the basis articulated by the agency itself.” State Farm, 463

U.S. at 50. Accordingly, this Court’s review is deferential and limited. But “it is by no

means a rubber stamp.” Garner, 767 F.2d at 116.

          Plaintiffs argue that the Head Start Rule is arbitrary and capricious on more than a

dozen grounds. Dkt. No. 8 at 34–43. Only a handful are particularly salient at this

preliminary stage.

          First, the Secretary made no distinctions in the Rule based on size, location, or

transmission rates. The Head Start Rule’s requirements are universal. Contra In re MCP,

2021 WL 5989357, at *2 (upholding OSHA standard applying only to employers of a

certain size); Alabama Association, 141 S. Ct. at 2490 (vacating stay of CDC eviction

moratorium, which applied only in counties with high transmission rates). The Secretary

acknowledged regional differences in COVID-19 transmission 14 but did not “reasonably

explain” his failure to accommodate such differences. Prometheus Radio Project, 141 S. Ct. at

1158. The Secretary found that “cases are trending downward” in some states. 86 Fed.

Reg. at 68,058. But “there are emerging indications of potential increase in others—

particularly northern states where the weather has begun to turn colder.” Id.



14
     See 86 Fed. Reg. at 68,058.


                                               – 34 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 35 of 56 PageID 24587



       An agency is “not required to identify the optimal threshold” of rule distinctions

based on size, location, or transmission rates “with pinpoint precision.” In re MCP, 2021

WL 5989357, at *15. And “[c]ourts are ‘generally unwilling to review line-drawing

performed by the [agency] unless a petitioner can demonstrate that lines drawn . . . are

patently unreasonable, having no relationship to the underlying regulatory problem.” Id.

(alteration in original) (quoting Cassell v. FCC, 154 F.3d 478, 485 (D.C. Cir. 1998)). But the

Rule does not account for any of the previously mentioned differences. Without reasonably

considering the relevant issues or reasonably explaining the decision, it imposed a novel,

universal approach.

       Contrary to this approach, Head Start has a documented history of success from

flexible practices depending on local needs. Dkt. Nos. 5-9 at 2-3; 27 at 4 (OHS May 2021

guidance listed in the administrative record); 29-9 (CDC report included in the

administrative record). In its May 2021 guidance, the agency recognized that “[t]o date,

OHS provided needed flexibilities and guidance that allowed programs to adapt services

based on the changing health conditions in their communities.” Id. at 2 (emphasis added). As a

result, some Head Start programs offered virtual and remote services, but “[m]any programs

continued to provide in-person services for children and families throughout the COVID-19

pandemic.” Id. The guidance instructed its in-person programs “to continue serving

children in person, as local health conditions allow” and encouraged programs to “move to in-

person services, as local health conditions allow.” Id. at 2 (emphasis added). During the

pandemic, local programs decided to close, operate remotely or hybrid, or offer fully in-

person services, depending on their circumstances. 86 Fed. Reg. at 68,058. In September

2021, 73% of centers were open for in-person services, 14% operated in a hybrid model, and



                                             – 35 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 36 of 56 PageID 24588



4% were virtual. Id. Only 2% were entirely closed due to COVID-19. Id. This history

makes clear that defendants recognized the importance of tailoring COVID-19 policy for

months and that local centers were able to navigate the pandemic successfully.

       There is no doubt that Head Start’s traditional local-flexibility approach worked and

that the data was before the agency when it nevertheless imposed the one-size-fits-all Rule.

A December 2020 report from the CDC studied the implementation of mitigation strategies

in early childhood education settings. Dkt. No. 29-9 (administrative record). The CDC

reported that, while “[m]ost states required all schools (K-12) to close or transition to virtual

learning,” the Office of Head Start “gave its local programs that remained open the

flexibility to use CARES Act funds to implement CDC-recommended guidance.” Id. at 1.

The result? “Head Start programs successfully implemented CDC-recommended mitigation

strategies and supported other practices that helped to prevent SARS-CoV-2 transmission

among children and staff members.” Id. The CDC stressed that the flexibility provided to

local Head Start programs was key to the success: “Since the COVID-19 pandemic started,

Head Start and Early Head Start programs successfully implemented CDC-recommended

mitigation strategies and applied other innovative approaches to limit SARS-CoV-2

transmission among children, teachers, and other staff members by allowing maximum

program flexibility and allocating financial and human resources.” Id. at 3 (emphasis added).

The report concludes that “[c]hild care settings should implement concurrent preventive

measures and adjust these strategies based on community transmission data.” Id. at 4.

       Despite this tradition and success, defendants attempt to justify their new one-size-

fits-all approach by stating that it would be “burdensome” for grant recipients that cover

large geographic areas to issue different guidance to programs in different locations. 86 Fed.



                                              – 36 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                   Page 37 of 56 PageID 24589



Reg. at 68,066. But such a conclusory allegation constitutes willful ignorance of the facts

and issues in a rushed attempt to achieve its goals. Head Start agencies covered large areas

and adjusted as necessary prior to the Rule, and defendants cite no evidence indicating that

it was burdensome to do so then or now.15 To the contrary, ACF admits that it has “relied

on the importance of local health conditions in issuing guidance to Head Start programs”

before and acknowledges the diversity in transmission rates. Id; see also id. at 68,058.

Moreover, the Rule ignores CDC guidance “that localities should monitor community

transmission in making decisions” and the CDC’s report that Head Start had successfully

navigated the pandemic through “maximum program flexibility.” Id. at 68,066; Dkt. No.

29-9 at 3.

          Rejecting or ignoring this guidance and data—and failing to articulate why local

conditions are no longer vital policy tools—ACF simply states that it is prioritizing an easy-

to-follow “clear and transparent policy” and that “children benefit from routine and

predictability.” Id. Again, ACF cites no evidence supporting these conclusory statements in

relation to the Rule and does not provide any reasonable, meaningful explanation of the

Rule. Instead, it implements a one-size-fits-all approach without articulating “a satisfactory

explanation for its action including a ‘rational connection between the facts found and the

choice made.’” State Farm, 463 U.S. at 43 (quoting Burlington, 371 U.S. at 168). Therefore,

the Court does “not defer to the agency’s conclusory or unsupported suppositions.” United

Techs. Corp. v. U.S. Dep’t of Def., 601 F.3d 557, 562–63 (D.C. Cir. 2010) (quoting McDonnell

Douglas Corp. v. U.S. Dep’t of the Air Force, 375 F.3d 1182, 1187 (D.C. Cir. 2004)).



15
     Because defendants precluded pre-promulgation comment, they appear to be guessing at the exact
     “burden[]” this will cause local agencies. Id. at 68,066.


                                                – 37 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21               Page 38 of 56 PageID 24590



       The validity of this conclusion is especially apparent in light of the Rule’s drastic

change from past practice. Although an agency need not always provide a detailed

explanation for a new policy, “[s]ometimes it must.” Fox Television Stations, Inc., 556 U.S. at

515. Supreme Court precedent makes clear that when a new policy “rests upon factual

findings that contradict those which underlay its prior policy,” or when an agency’s “prior

policy has engendered serious reliance interests,” it is “arbitrary or capricious to ignore such

matters.” Id. As explained above, the Rule rests on a one-size-fits-all finding that

contradicts its prior approach, and the agency’s prior flexibility engendered serious reliance

interests. Thus, “further justification [was] demanded” but not provided, likely rendering

the Rule arbitrary and capricious.

       Plaintiffs also argue that ACF’s failure to establish an end date for the masking and

testing requirements was arbitrary and capricious. In the Rule, ACF offered no explanation

for its choice. See 86 Fed. Reg. at 68,066. Rather, it only “invites comment” on whether to

establish a “finite end date.” Id. Defendants argue that ACF decided to not include an end

date because “children benefit from routine and predictability.” Dkt. No. 26 at 31 (quoting

86 Fed. Reg. at 68,066). Under a fair reading of the Rule, ACF likely did not offer that

reason to explain its choice. And even if it did, it would not support omitting an end date.

       ACF asserts that “children benefit from routine and predictability” not to explain its

choice to omit an end date, but to partially explain its decision to impose universal

mandates without regard to regional transmission rates. Dkt. No. 26 at 44. And choosing

not to tie “predictability” to the indeterminate duration of the Rule makes sense. If children

benefit from predictability, then imposing an end would serve that purpose. They would be

able to predict when they needed to wear a mask and when they did not. By failing to



                                             – 38 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 39 of 56 PageID 24591



include an end date, ACF made the Rule’s duration entirely unpredictable. Therefore, to

the extent ACF actually included an explanation for this choice, it was not “reasonable.”

See generally Prometheus Radio Project, 141 S. Ct. at 1158. Though this is not a stand-alone

basis to invalidate the Rule, when viewed together with the Rule’s overbreadth and change

in policy, it takes the Secretary’s decision outside “the zone of reasonableness.” Prometheus

Radio Project, 141 S. Ct. at 1158.

       B.      Substantial Threat of Irreparable Harm

       The defendants argue that the plaintiffs cannot show the threat of irreparable harm

necessary to entitle them to preliminary injunctive relief. Dkt. No. 26 at 65. See Winter, 555

U.S. at 20. “To show irreparable injury if threatened action is not enjoined, it is not

necessary to demonstrate that harm is inevitable and irreparable.” Humana, Inc. v. Jacobson,

804 F.2d 1390, 1394 (5th Cir. 1986). Instead, plaintiffs need only show that they are “likely

to suffer irreparable harm in the absence of preliminary relief.” Benisek v. Lamone, 138 S. Ct.

1942, 1944 (2018).

       The defendants assert that plaintiffs will not suffer irreparable harm absent an

injunction, and due to the lack of injury, they argue in passing that Texas lacks standing.

Dkt. No. 26 at 66–68 (“To the extent Texas seeks to litigate on its citizens’ behalf, it cannot

do so.”). Regardless of whether that argument has been adequately briefed, the Court has

an ongoing independent obligation to ensure that the plaintiffs indeed have standing to

invoke this Court’s jurisdiction. E.g., Collins v. Yellen, 141 S. Ct. 1761, 1778–79 (2021); Moler

v. Wells, 18 F.4th 162, 166 (2021). And because the standing analysis and the irreparable-

injury analysis—an issue both sides fully address—are largely overlapping, the Court will




                                             – 39 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 40 of 56 PageID 24592



consider together the questions of whether the plaintiffs have standing and whether they risk

irreparable injury absent the preliminary injunctive relief they seek.

       Federal courts have jurisdiction over cases or controversies only, and standing is “an

essential and unchanging part of the case-or-controversy requirement of Article III.” Lujan

v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (citing Allen v. Wright, 468 U.S. 737, 751 (1984)).

“[S]tanding is not dispensed in gross; rather, plaintiffs must demonstrate standing for each

claim that they press and for each form of relief that they seek (for example, injunctive relief

and damages).” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021). To demonstrate

that federal court is the proper forum for resolving a dispute, the party invoking the federal

forum—here, the plaintiffs—must demonstrate that the plaintiff suffers an “injury in fact”

that is both “concrete and particularized” and “actual or imminent.” Lujan, 504 U.S. at

560. That injury must be “fairly . . . trace[able] to the challenged action of the defendant.”

Id. (alterations in original) (quoting Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26, 41–42

(1976)). And it must be “likely”—not speculative or certain—that the injury will be

“redressed by a favorable decision.” Id. at 561. Necessarily then, a plaintiff who lacks

standing cannot demonstrate an irreparable injury from the Court’s failure to enjoin the

challenged conduct.

       The Court takes each aspect of standing in turn.

             i.       Injury

       An injury is “an invasion of a legally protected interest” that is both “concrete and

particularized” and “actual or imminent, not conjectural or hypothetical.” Spokeo, Inc. v.

Robins, 578 U.S. 330, 339 (2016) (quoting Lujan, 504 U.S. at 560). A concrete injury is one

that must “actually exist”—it must be “real, and not abstract.” Id. at 340. Meanwhile, the




                                             – 40 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 41 of 56 PageID 24593



particularity aspect requires that the plaintiff be affected in a “personal and individual way”.

Id. at 339 (quoting Lujan, 504 U.S. at 560 n.1). “Tangible” and “concrete” are not

synonyms; the former is broader than the latter, encompassing intangible injuries within

“injuries in fact.” See TransUnion 141 S. Ct. at 2204.

       Similarly, “under Article III, an injury in law is not an injury in fact. Only those

plaintiffs who have been concretely harmed by a defendant’s statutory violation may sue that

private defendant over that violation in federal court.” Id. at 2205. So a plaintiff who “is

merely seeking to ensure a defendant’s ‘compliance with regulatory law’” does not have

“grounds for Article III standing” absent some “physical, monetary, or cognizable

intangible harm traditionally recognized as providing a basis for a lawsuit in American

Courts.” Id. at 2206 (quoting Spokeo, 578 U.S. at 345). An increased regulatory burden

typically satisfies the injury-in-fact-requirement. See Ass’n of Am. R.R.s v. Dep’t of Transp., 38

F.3d 582, 586 (D.C. Cir. 1994); cf. Georgia v. Biden, No. 1:21-CV-163, 2021 WL 5779939, *4,

*11 (S.D. Ga. Dec. 7, 2021) (citing, as an irreparable injury, the administrative burden of

merging human-resources and medical data necessitated by an obligation to collect

vaccination statuses of covered employees).

       Because states are not normal litigants, see Massachusetts v. EPA, 549 U.S. 497, 518

(2007), the Court analyzes LISD’s and Texas’s injuries separately.

                      a.      LISD

       First, LISD argues that it faces two forms of irreparable harm: various financial and

operational harms and the risk of violating state law. Dkt. No. 8 at 57–58. Because the

Court concludes that the first is sufficient to justify a preliminary injunction to protect LISD,

it declines to address the second.




                                              – 41 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                    Page 42 of 56 PageID 24594



           LISD argues that it will lose staff and students if the Rule goes into effect. Id. It

supports that argument with declarations from school administrators, parents, and staff. See

id. at 58 nn. 55–60. Should LISD comply with the Rule, it will lose staff and students,

impacting its ability to provide services to Head Start students and their families. Id. at 58;

Dkt. Nos. 8-7 (declaration of an LISD pre-K student’s mother attesting that she will

unenroll her child); 8-8 (declaration of an LISD employee who attests that he will leave his

employment); 8-9 (declaration of LISD Head Start director disclosing that some staff remain

unvaccinated). Moreover, those losses will come at a time when the District has struggled

to fill preexisting staff vacancies—creating new vacancies will exacerbate staff shortages and

further strain resources to the detriment of students. Dkt. Nos. 8 at 58; 8-9 (noting LISD

“has already been challenged to secure the current staffing needs”). And LISD stands to

lose other funds as well: at least one parent of a non-Head Start student has indicated that

her child will be withdrawn from LISD’s pre-K program if instructors—who teach mixed

classrooms of Head Start and non-Head Start students—are required to wear masks,

depriving the District of the tuition dollars paid by that child’s parents. Dkt. No. 8-7.

Losing up to 36 unvaccinated staff 16 would also jeopardize LISD’s ability to comply with

the staff-student ratios Head Start requires, so even if it chooses to comply with the Rule, it

may still lose its Head Start funding.

           All of this demonstrates a real and likely injury to LISD’s early education

programming should it comply with the Rule. And, as a general rule, “a regulation later

held invalid almost always produces the irreparable harm of nonrecoverable compliance


16
     Of the 152 staff surveyed, 136 responded; 20 responded that they were not vaccinated. Dkt. No. 8-
     9 at 3. Assuming, for worst-case-scenario purposes, that all of those who failed to respond were
     unvaccinated yields 36 unvaccinated Head Start staff members.


                                                 – 42 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                     Page 43 of 56 PageID 24595



costs,” Texas v. EPA, 829 F.3d 405, 433 (5th Cir. 2016) (quoting Thunder Basin Coal Co. v.

Reich, 510 U.S. 200, 220–21 (1994) (Scalia, J., concurring in part and in the judgment)),

“because federal agencies generally enjoy sovereign immunity for any monetary damages,”

Wages & White Lion Invs., L.L.C. v. FDA, 16 F.4th 1130, 1142 (5th Cir. 2021) (citations

omitted). So even though LISD might be able to avoid the harms it fears through monetary

relief, such relief will never come. Just as in a situation where the defendant may be

insolvent upon final judgment, thus precluding recovery of money damages, see, e.g., In re

Fredeman Litig., 843 F.2d 821, 826–27 (5th Cir.1988) (citations omitted), injunctive relief is

justified where a regulated entity can never recover its compliance costs. See LabMD, Inc. v.

Fed. Trade Comm’n, 678 F. App’x 816, 821 (11th Cir. 2016) (finding irreparable harm by

irrecoverable compliance costs pending appeal); Georgia v. Biden, 2021 WL 5779939 at *4,

*11 (citing overhead of collecting vaccination data from covered employees); but see Freedom

Holdings, Inc. v. Spitzer, 408 F.3d 112, 115 (2d Cir. 2005) (“However, ordinary compliance

costs are typically insufficient to constitute irreparable harm.”).

           The harm to LISD if it chooses not to comply with the Rule—if it chooses to reject

Head Start funding altogether—would be even more serious. Funding for at least 400

eligible young children would be withdrawn. See 8-9 ¶ 4. The loss of that funding could

result in the loss of up to approximately 40% of LISD’s early education programming. 17

And if the loss of a handful of unvaccinated staff members would be harmful, the loss of

dozens would be catastrophic. Indeed, the National Head Start Association sent a letter to

Secretary Becerra on December 15—after the Rule’s promulgation—indicating that the



17
     According to its superintendent, LISD currently serves 1,265 children in its pre-K programs, 540
     of whom (42%) receive Head Start funding. Dkt. No. 8-3 at 3.


                                                  – 43 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 44 of 56 PageID 24596



Rule’s enforcement “could result in the closing of over 1,300 Head Start classrooms” and

the loss of nearly “60,000 staff.” Dkt. No 39-19 at 1, 3.

       Regardless of what LISD chooses, then, the Rule imposes an injury on its ability to

provide services to Head Start students. Either through attrition or the loss of funding,

LISD will be forced to make do for its students with less. And, as explained above, any

added costs it incurs in trying to do so will be unrecoverable given the immunity enjoyed by

the implementing agencies. The District has therefore shown a likelihood of irreparable

injury directly attributable to the Rule’s promulgation.

                      b.      Texas—Head Start Programs

       Texas claims it will suffer two injuries—one to its Head Start programs and one to its

sovereign interests. Dkt. No. 8 at 57–61. Texas Tech University receives funds directly

from HHS for its Early Head Start program, Dkt. No. 8-2 at 2, and therefore stands to lose

those funds if the Rule goes into effect and Texas Tech chooses not to comply. When the

federal government’s regulation imposes costs on a State, those costs constitute an

irreparable injury. See Texas v. Biden, --- F.4th ---, 2021 WL 5882670, at *53 (5th Cir. Dec.

13, 2021). Here, the Rule imposes costs on Texas: Texas will be obliged to either lose

funding for its Head Start programs or bear compliance costs. Just as LISD faces

irreparable harm in unrecoverable costs or the loss of funding, so too does Texas.

                      c.      Texas—Sovereign Interests

       “[S]tates have a sovereign interest in ‘the power to create and enforce a legal code.’”

Tex. Off. of Pub. Util. Couns. v. FCC, 183 F.3d 393, 449 (5th Cir. 1999) (quoting Alfred L. Snapp

& Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 601 (1982)). Pursuant to that interest,

states may have standing based on (1) federal assertions of authority to regulate matters they




                                              – 44 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                  Page 45 of 56 PageID 24597



believe they control, (2) federal preemption of state law, and (3) federal interference with the

enforcement of state law, at least where “the state statute at issue regulate[s] behavior or

provide[s] for the administration of a state program” and does not “simply purport [ ] to

immunize [state] citizens from federal law.” Virginia ex rel. Cuccinelli v. Sebelius, 656 F.3d

253, 269–70 (4th Cir. 2011); see, e.g., Wyoming ex rel. Crank v. United States, 539 F.3d 1236,

1242 (10th Cir. 2008); Alaska v. U.S. Dep’t of Transp., 868 F.2d 441, 443–44 (D.C. Cir. 1989);

Ohio ex rel. Celebrezze v. U.S. Dep’t of Transp., 766 F.2d 228, 232–33 (6th Cir. 1985); cf.

Diamond v. Charles, 476 U.S. 54, 62 (1986) (commenting that “a State has standing to defend

the constitutionality of its statute” but not relying on that principle). Such intrusions

amount to pressure to change state law.

       An injury to a state’s sovereign interest is “necessarily” irreparable. See, e.g., Planned

Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 734 F.3d 406, 419 (5th Cir. 2013).

And a state’s interest “in not being pressured to change its law” is sufficiently “related to its

sovereignty” for these purposes. Texas v. United States, 787 F.3d 733, 752 n.38 (5th Cir.

2015). Indeed, irreparable harm exists when a federal regulation prevents a state from

enforcing its duly enacted laws. See, e.g., Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018)

(citing Maryland v. King, 567 U.S. 1301 (2012) (Roberts, C.J., in chambers)) (“[T]he inability

to enforce its duly enacted plan clearly inflicts irreparable harm on the State.”); King, 567

U.S. at 1303 (quoting New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351

(1977) (Rehnquist, C.J., in chambers)) (“Any time [a state is blocked] from effectuating

statutes enacted by representatives of its people, it suffers a form of irreparable injury.”);

New Motor, 434 U.S. at 1351 (“It also seems to me that any time a State is enjoined by a

court from effectuating statutes enacted by representatives of its people, it suffers a form of



                                              – 45 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 46 of 56 PageID 24598



irreparable injury.”). The distinction between a statute and an executive order is, for today’s

purposes, immaterial. See Tex. Gov’t Code § 418.012; accord E.T. v. Paxton, --- F.4th ---,

2021 WL 5629045, *6 (5th Cir. Dec. 1, 2021) (“While this case centers on an executive

order issued by the Governor under his emergency authority rather than enforcement of a

statute enacted by the plenary legislative authority of the people, the same reasoning

applies.”) (cleaned up).

       Texas has elected to prohibit governmental entities from requiring masks or vaccines.

The clear effect of the Rule is to inhibit Texas’s sovereign policy-making and, importantly,

enforcement powers. Texas officials who are obliged to enforce Texas law will be forced to

decide whether to fine school districts and officials who choose to comply with the

regulations simply to avoid losing Head Start funding. The net effect of the Rule is likely to

be increased pressure to amend, or at least decline to enforce, Texas’s laws. Texas therefore

suffers an irreparable injury to its sovereign interests by dint of the Rule’s enforcement.

                      d.      Texas—Parens Patriae

       Texas argues that it, as parens patriae for its citizens, suffers an irreparable injury from

the Rule’s enforcement. “To have [parens patriae], standing the State must assert an injury to

what has been characterized as a ‘quasi-sovereign’ interest, which is a judicial construct that

does not lend itself to a simple or exact definition.” Alfred L. Snapp, 458 U.S. at 601. Three

cases guide the Court’s understanding of a state’s parens patriae interests.

       First, in Massachusetts v. Mellon, the Supreme Court made clear that states do not have

parens patriae standing to protect their citizens from the operation of federal law. 262 U.S.

447, 485 (1923). Mellon involved a challenge to the Shepphard-Towner Maternity and

Infancy Act, a federal law enacted under President Harding to reduce infant and maternal



                                              – 46 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 47 of 56 PageID 24599



mortality. Id. at 479. The Act operated by providing funds—with strings—to state health

agencies. Id. States that did not restructure their operations in accordance with the federal

government’s conditions lost federal funding. Id. at 479–82. Massachusetts sued then-

Treasury Secretary Andrew Mellon, the official responsible for disbursing the funds, arguing

that the act unconstitutionally legislated “for purposes not national, but local to the states.”

Id. at 479.

       The court rejected Massachusetts’s challenge. Id. at 488–89. The court concluded

that Massachusetts sought the court’s decision as to an “abstract question[] of political

power”—not a case or controversy. Id. at 485. The court also concluded that

Massachusetts could not bring suit “as the representative of its citizens”—as parens patriae.

Id. Because “the citizens of Massachusetts are also citizens of the United States,”

Massachusetts had no “duty or power to enforce their rights in respect of their relations with

the federal government.” Id. at 485–86. Instead, it was the United States—whose laws are

supreme under the Constitution—who was the citizens’ parens patriae. Id. at 486.

       Six decades later, in Alfred L. Snapp, the court refined the so-called Mellon bar. 458

U.S. 592. While reaffirming Mellon’s core rule, the court restricted it: a state does have

standing to assert its “quasi-sovereign interests” against the federal government. Id. at 607–

08, 610 n.16. Quasi-sovereign interests defy easy exemplification, but the Court defined

them as a state’s interests “in the health and well-being—both physical and economic—of its




                                             – 47 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                        Page 48 of 56 PageID 24600



residents in general,” as well as a state’s “interest in not being discriminatorily denied its

rightful status within the federal system.” 18 Id. at 607.

           In 2007, the court once again took up the question of parens patriae standing. In

Massachusetts v. EPA, the court held that Massachusetts had standing to challenge the EPA’s

failure to regulate greenhouse gasses under the authority granted to it by the Clean Air Act.

549 U.S. at 526. The majority stated that Mellon did not adopt a broad bar on parens patriae

standing because the Mellon court was not “called upon to adjudicate . . . quasi-sovereign

rights actually invaded or threatened.” Id. at 520 n.17 (emphasis in original). The majority

continued that there was a “critical difference between allowing a State ‘to protect her

citizens from the operation of federal statutes’ (which is what Mellon prohibits) and allowing

a State to assert its rights under federal law (which it has standing to do).” Id. (citing Georgia

v. Pa. R. Co., 324 U.S. 439, 447 (1945)). Accordingly, the Court concluded that since

Massachusetts sought to invoke its own rights under the Clean Air Act rather than its

citizens’, it had standing. See id. at 522–23, 526.

           The law today is clear that a state has parens patriae standing when a state “assert[s]

its rights under federal law” but lacks standing when it seeks only to “protect her citizens

from the operation of federal statutes.” Id. at 520 n.17. And the “rights” under federal law

a state may protect encompass two general categories of “quasi-sovereign” interests: those

“in the health and well-being—both physical and economic—of its residents in general,”




18
      The Court notes, as others have, that the language in Alfred L. Snapp that “[a] State does not have
     standing as parens patriae to bring an action against the federal government” is technically dictum
     but, like others, takes the statement at face value for the purposes of this analysis. 458 U.S. 592 at
     610 n.16.


                                                    – 48 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 49 of 56 PageID 24601



and those “in not being discriminatorily denied its rightful status within the federal system.”

Alfred L. Snapp, 548 U.S. at 607.

         With that understanding, the Court concludes that Texas has parens patriae standing.

Texas alleges that the Rule’s enforcement will lead to dramatic declines in Head Start

offerings, adversely impacting students and their families. The plaintiffs have supported

these allegations with declarations from school officials in metropolitan and rural areas

alike, along with extensive evidence of the millions of dollars in funding that are at stake in

the dispute. It is difficult to imagine what could qualify as interests “in the health and well-

being—both physical and economic—of its residents in general” sufficient to confer parens

patriae standing if not the adverse impact on needy children across the state. Id.

         The defendants contends that the state lacks parens patriae standing to protect those

who might be subject to the mask and vaccine requirements. Dkt. No. 26 at 66–68. That

may be so. It is blackletter law that states lack standing to protect their citizens from the

effects of federal laws. Mellon, 262 U.S. at 485. But because the Court concludes that Texas

has a parens patriae interest in protecting the welfare of its neediest children, the Court need

not resolve the thorny issue of whether Texas has standing as parens patriae for Head Start

staff.

                       e.     Texas—Statutory Interests

         Although Texas does not raise its rights under the APA as a form of irreparable

injury, given the Court’s conclusions about notice and comment, the Court concludes that

Texas suffers another form of irreparable injury by being denied its procedural right to

comment on the Rule. Texas v. EEOC, 933 F.3d 433, 447 (5th Cir. 2019) (“A violation of

the APA’s notice-and-comment requirements is one example of a deprivation of a



                                              – 49 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 50 of 56 PageID 24602



procedural right.”). The Rule undercuts Texas’s interest in ensuring compliance with its

laws prohibiting state entities from requiring vaccines or masks; they affect Texas’s ability to

enforce its own laws. See supra Part 3.B.i.c. And only by enjoining the Rule’s

enforcement—with the expectation that the Secretary may try again, this time allowing for

notice and comment before promulgation—will Texas’s procedural rights under the APA be

protected. Thus, the denial of Texas’s opportunity to participate in the rulemaking process

through notice and comment is another form of irreparable injury.

            ii.       Traceability

       Where “a causal relation between injury and challenged action depends upon the

decision of an independent third party . . . standing is not precluded, but it is ordinarily

substantially more difficult to establish.” California v. Texas, 141 S. Ct. 2104, 2117 (2021)

(internal quotations omitted) (quoting Lujan, 504 U.S. at 562 and citing Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 413 (2013)). The plaintiffs therefore must “adduce facts showing

that [the choices of the relevant third parties] have been or will be made in such manner as

to produce causation.” Lujan, 504 U.S. at 562.

       That the plaintiffs have brought forth specific evidence and examples of how they

will be harmed by the Rule’s enforcement distinguishes this case from others where a third

party’s actions might have hurt the plaintiff. See, e.g., California, 141 S. Ct. at 2118–19 (“The

state plaintiffs have failed to show that the challenged minimum essential coverage

provision, without any prospect of penalty, will harm them by leading more individuals to

enroll in these programs.”) (emphasis added); Allen, 468 U.S. at 738 (“[I]t is entirely

speculative whether withdrawal of a particular school’s tax exemption would lead the

school to change its [racially discriminatory] policies. It is just as speculative whether any



                                             – 50 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 51 of 56 PageID 24603



given parent of a child attending such a private school would decide to transfer the child to

public school as a result of any changes in educational or financial policy made by the

private school once it was threatened with loss of tax-exempt status.” (citation omitted));

Clapper, 568 U.S. at 413 (“[E]ven if respondents could show that the Government will seek

[the Foreign Intelligence Surveillance Court’s] authorization to acquire the communications

of respondents’ foreign contacts . . . respondents can only speculate as to whether [that

court] will authorize such surveillance.” (emphasis added)).

       This case, then, is akin to Department of Commerce v. New York. 139 S. Ct. 2551

(2019). There, traceability turned on the guess that “third parties will likely react in

predictable ways” to the challenged regulation. Id. at 2566. So too here. Head Start

teachers at LISD have indicated that they do not want to be vaccinated against COVID-19.

One has indicated—predictably—that if put to the choice of his profession or his decision to

remain unvaccinated, he will choose the latter. The traceability demanded by the standing

inquiry ask only whether an injury is “fairly traceable” to the defendant the plaintiff has

chosen to sue. Spokeo, 578 U.S. at 338. That link “requires no more than de facto causality.”

New York, 139 S. Ct. at 2256. The defendant’s actions need not be the “very last step in the

chain of causation.” Bennett v. Spear, 520 U.S. 154, 169 (1997). Thus, far from speculation

about nebulous future harms, the harms LISD and Texas describe are “the predictable effect

of Government action on the decisions of third parties.” New York, 139 S. Ct. at 2256 (citing

Bennett, 520 U.S. at 169–70). Notwithstanding the involvement of third parties in the

equation, traceability is satisfied.




                                             – 51 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 52 of 56 PageID 24604



            iii.         Redressability

       Redressability requires a simple enough inquiry: if the Court enjoins the Rule’s

enforcement, is it likely that the harm the plaintiffs portend will come to pass? The answer

here is equally straightforward: no. So redressability, too, is satisfied.

       To elaborate: The plaintiff must show only that its injury is “likely to be redressed by

a favorable decision.” Vill. of Arlington Heights, v. Metro. Hous. Dev. Corp., 429 U.S. 252, 262

(1977) (quoting Simon, 426 U.S. at 38). And to redress an injury, the Court’s remedy must

“personally . . . benefit [the plaintiff] in a tangible way.” Warth v. Seldin, 422 U.S. 490, 508

(1975). Here, both are true of the relief the plaintiffs seek—an injunction preventing the

enforcement of the challenged regulations. The Rule aims to add conditions to grants given

to Head Start providers. If the Rule were to go into effect, the government could terminate

grants to providers who do not adopt the Rule’s vaccine and mask requirements. If the

government cannot enforce the conditions, however, the participants are free to maintain

the status quo without jeopardizing their Head Start funding. That would allow LISD to

continue to, for example, employ in Head Start classrooms teachers who are unmasked or

unvaccinated, thus avoiding the need to reassign or terminate employees and find

replacements. An injunction barring enforcement of the challenged regulations would

therefore remedy the plaintiffs’ harms.

       C.          Balance of Harms and the Public Interest

       The third and fourth requirements for issuance of a preliminary injunction—the

balance of harms and whether the requested injunction will serve the public interest—

“merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435

(2009). Therefore, the Court considers them together. The Court “must balance the




                                              – 52 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 53 of 56 PageID 24605



competing claims of injury and must consider the effect on each party of the granting or

withholding of the requested relief.” Winter, 555 U.S. at 24 (citing Amoco Prod. Co. v. Vill. Of

Gambell, 480 U.S. 531, 542 (1987)).

       Here, the equities and public interest cut both ways, but ultimately favor plaintiffs.

The Rule will likely cause further staff shortages to the existing hiring crisis, loss of funding,

and program closures. Dkt. Nos. 8-3; 8-7; 8-8; 8-9. The Secretary recognizes these risks. 86

Fed. Reg. 68,091 (“There are already significant challenges in recruiting and retaining staff

among early care and education providers including Head Start and the requirements in this

rule could exacerbate this issue.”). As a result, children who have previously received pre-K

Head Start services and funding will be prevented from participating in “an essential part of

preparing children, particularly children living in poverty, for success in school and life.”

Dkt. No. 8-3 ¶ 8; see also 86 Fed Reg. at 68,057 (outlining several other harms to children

and families due to program closures).

       Furthermore, local programs have serious reliance interests on preserving the status

quo of local flexibility. The Rule constitutes a drastic change from this “precedent.” See

Dkt. No. 39-19 at 1. As the National Head Start Association explained in its recent letter to

the Secretary, “Head Start’s strength has come from the flexibility of local practices that

enables programs to meet community and family needs.” Id.

       On the other hand, reducing the spread of COVID-19 is critical to public health. See

86 Fed. Reg. at 68,055. And COVID-19 transmission could also lead to program closures.

Id. at 68,056–57. But given the relatively high vaccination rate of staff, the risk of program

closures may be greater under the Rule than in its absence.




                                              – 53 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 54 of 56 PageID 24606



       Additionally, the “public interest is in having governmental agencies abide by the

federal laws that govern their existence and operations.” Wages & White Lion, 16 F.4th at

1143 (quoting Texas v. Biden, 10 F.4th 538, 559 (5th Cir. 2021)). Here, the Court finds that

there is a substantial likelihood that the Secretary issued the Rule unlawfully. And

generally, there is “no public interest in the perpetuation of unlawful agency action.” League

of Women Voters of the U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (citing Pursuing Am.’s

Greatness v. Fed. Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016), and Gordon v. Holder,

721 F.3d 638, 653 (D.C. Cir. 2013)).

       In sum, the Court finds that the balance of equities and the public interest weigh in

favor of granting plaintiffs’ motion for preliminary injunction.

4.     Scope of Relief

       Texas seeks a nationwide injunction. Dkt. No. 38 at 29. During the hearing,

counsel for Texas argued that nationwide relief was necessary because the APA instructs

courts to “set aside” unlawful agency action. Tr. at 90–91; see generally 5 U.S.C.

§ 706(2)(A), (C). In light of Fifth Circuit precedent and the record before it, the Court

declines to issue a nationwide injunction. Instead, the Court will limit the scope of its

injunction based on the parties and evidence. The Interim Final Rule’s implementation and

enforcement will be enjoined in Texas.

       The Fifth Circuit recently addressed the proper scope of injunctions when reviewing

a nationwide injunction. Becerra, 2021 WL 5913302 at *2–3. A district court enjoined

nationwide the enforcement of the Secretary’s vaccination mandate for Medicare- and

Medicaid-certified providers. Id. The Fifth Circuit narrowed the injunction to the 14

plaintiff states, reiterating that an injunction’s scope must be justified by the circumstances.




                                             – 54 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                 Page 55 of 56 PageID 24607



Id. at *2–3 (citing Texas v. United States, 809 F.3d 134, 188 (5th Cir. 2015), aff’d by an equally

divided court sub nom. United States v. Texas, 136 S. Ct. 2271, 2272 (2016)). The panel

explained that “[p]rinciples of judicial restraint control here,” and noted that “[o]ther courts

are considering these same issues, with several courts already and inconsistently ruling.” Id.

at *2. And while nationwide injunctions are permissible in the immigration context due to

the constitutional command for uniform immigration laws and the concern that limited

immigration injunctions would be ineffective, that does not mean that “nationwide

injunctions are required or even the norm.” Id.; see also Texas, 809 F.3d at 187–88 (affirming

nationwide injunction of DAPA in immigration context because the Constitution requires a

uniform rule of naturalization).

       Here, similar circumstances counsel against a nationwide injunction. As in Louisiana

v. Becerra, the Court faces an issue that, unlike immigration, does not have a constitutional

command for nationwide uniformity. Moreover, as in Louisiana v. Becerra, the same issues

are considered in two other cases, both in the Western District of Louisiana: Louisiana v.

Becerra, No. 3:21-CV-04370 (W.D. La.); Brick v. Biden, No. 2: 21-CV-04386 (W.D. La.). In

the former case, over 20 states challenge the Head Start mandates, and the court has yet to

issue its decision. Louisiana v. Becerra, Dkt. No. 1, No. 3:21-CV-04370 (W.D. La.). In

contrast, this Court has only two plaintiffs before it—Texas and a Texas school district,

LISD. Dkt. No. 1 at 1. Furthermore, the great majority of evidence before the Court is

limited to harm caused to Head Start programs in Texas. See Dkt. Nos. 8-2, 8-3, 8-4, 8-5, 8-

6, 8-7, 8-8, and 8-9; but see, e.g., Dkt. Nos. 39-15; 39-19. Thus, the Court concludes that the

circumstances do not justify or require a nationwide injunction; rather, it will follow Fifth

Circuit precedent and limit the injunction based on the parties, issues, and evidence before



                                              – 55 –
Case 5:21-cv-00300-H Document 42 Filed 12/31/21                Page 56 of 56 PageID 24608



it. Louisiana v. Becerra, 2021 WL 5913302 at *2-3; see also Dep’t of Homeland Sec. v. New York,

140 S. Ct. 599, 600 (2020) (Gorsuch, J., concurring) (“Equitable remedies, like remedies in

general, are meant to redress the injuries sustained by a particular plaintiff in a particular

lawsuit.”). The Court’s injunction is therefore limited to Texas.

5.     Conclusion

       For all the above reasons, the Court grants the plaintiffs’ motion for a preliminary

injunction. The Court orders that defendants are preliminarily enjoined from implementing

and enforcing the Interim Final Rule with Comment Period, Vaccine and Mask

Requirements to Mitigate the Spread of COVID-19 in Head Start Programs, 86 Fed. Reg.

68,052 (Nov. 30, 2021), in the state of Texas pending a trial on the merits of this action or

until further order of this Court. Defendants shall immediately cease all implementation or

enforcement of the Interim Final Rule with Comment Period as to any Head Start program

within the State of Texas. Because defendants have appeared and the Court conducted a

hearing on plaintiffs’ motion, Federal Rule of Civil Procedure 65(b) no longer applies. See

e.g., New England Health Care, Emps. Union, Dist. 1199, SEIU/AFL-CIO v. Rowland, 170 F.

Supp. 2d 199, 201 n.2 (D. Conn. 2001) (denying TRO as moot in light of the hearing on the

preliminary motion). Therefore, the Court denies plaintiffs’ request for a temporary

restraining order as moot.

       The Court further orders that no security bond shall be required under Federal Rule

of Civil Procedure 65(c).

       So ordered on December 31, 2021

                                                      ____________________________________
                                                      JAMES WESLEY HENDRIX
                                                      UNITED STATES DISTRICT JUDGE




                                             – 56 –
